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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:08CR3148
                                        )
            V.                          )
                                        )
LARRY J. LAUTENSCHLAGER,                )                   ORDER
                                        )
                   Defendant.           )
                                        )


      Upon recommendation of the probation officer, and there being no objection,


      IT IS ORDERED that the petition for an offender (filing no. 475) is dismissed
without prejudice. The hearing scheduled for June 13, 2013 is cancelled. The motion
to modify conditions of release to transfer supervision (filing no. 486) is denied.


      DATED this 11th day of June, 2013.


                                       BY THE COURT:


                                       Richard G. Kopf
                                       Senior United States District Judge
